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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

IN RE:                                        )         Chapter 11
                                              )
W.R. GRACE & CO., et al.,                     )         Case No. 01-1139(JKF)
                                              )
                        Debtors.              )         Jointly Administered
                                              )
                                              )


                      ORDER ON MOTION FOR RECONSIDERATION

                 Upon consideration of the Motion Of BNSF Railway Company For

Reconsideration Of The Memorandum Opinion Regarding Objections To Confirmation Of First

Amended Joint Plan Of Reorganization And Recommended Supplemental Findings Of Fact And

Conclusions Of Law [Docket No. 26154] And The Recommended Findings Of Fact,

Conclusions Of Law And Order Regarding Confirmation Of First Amended Joint Plan Of

Reorganization As Modified Through December 23, 2010 [Docket No. 26155], it is hereby:

                 ORDERED that footnote 46 on page 40 of the Memorandum Opinion is modified

to read

                                       BNSF filed an objection . . . to
                               Debtors’ motion to approve a settlement
                               with CNA . . . asserting, inter alia, that the
                               settlement is ambiguous as to whether
                               policies under which BNSF claims rights as
                               a named insured are covered by the
                               channeling injunction. A hearing on
                               Debtors’ motion to approve the settlement
                               with CNA was held on January 10, 2011,
                               and BNSF’s objection was sustained.


                 And it is further ORDERED that the first three sentences on page 40 of the

Memorandum Opinion is hereby stricken;


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                 And it is further Ordered that BNSF’s objection that the Joint Plan unfairly

discriminates against Indirect Claimants in Class 6, whose claims are based on Direct Claimants

who were exposed solely, or nearly solely, to Grace asbestos, is SUSTAINED.


                 Ordered this ___ day of _________________, 2011.



                                                       ___________________________
                                                       Judith K. Fitzgerald
                                                       United States Bankruptcy Judge




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